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200 FIRSTS STREET SW
Rochester, MN 55905 US
(888) 266-0440

2918 Bandel Ct NW
ROCHESTER, MN 55901 US

20-Nov-2024 3-Dec-2024 | 10-Dec-2024 ~ 94,351, Gt

Gross Earnings 3,528.57 88,398.70
Imputed Earnings 15.07 371.79
Pretax Deductions 281.27 6,593.55
Employee Tax Deductions 450.80 11,534.31
Involuntary Deductions 765.68 3,711.86
Net Payment 2,015.75 66,187.19

Excess Life Imputed 15.07 371.79

Miscellaneous Pay Non 0.00 1,000.00
Benefits

Paid Time Off 16.00 43.92 702.70 13,108.08

Regular Pay 64.00 43.92 2,810.80 73,918.83

Paid Time Off

Earnings Breakdown: This section details the Earnings by rate for the above summary.

702.70

Regular Pay

2,810.80

46.00

2.00
Mayo 403b Plan Employees Contribution 70.27 1,740.55
Mayo Premier 209.00 4,807.00

- Social Security Employee Withheld

83

5,
FIT Withheld 136.02 3,575.80
Medicare Employee Withheld 48.10 1,211.41
SIT Withheld (MN) 60.99 1,567.27

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FEDERAL Married
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| State Tax Levy Order : : : . ~ 0.00
State Tax Levy Order

2,946.18
765.68

5873936482 MERCHANTS 091900193 XXXXXX404

2,015.75
BANK NA

Mayo 403b Plan Employers Contribution 870.34

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MEDICAL EDUCATION AND
| RESEARCH

Employ: aves Ad nw SC ==) 200 FIRST STREET SW
ROCHESTER, MN 55901 US Rochester, MN 55905 US
(888) 266-0440

20-Nov-2024 3-Dec-2024 91,351. of
Gross Earnings 0.00 88,398.70
Imputed Earnings 0.00 371.79
Pretax Deductions 0.00 6,593.55
Employee Tax Deductions 0.00 11,534.31
Involuntary Deductions 0.00 3,711.86
Voluntary Deductions -765.68 ~765.68
Net Payment 765.68 66,952.87

~ Excess Life Imputed 0.00 371 79°

Miscellaneous Pay Non 0.00 1,000.00
Benefits

Paid Time Off 0.00 0.00 13,108.08

Regular Pay 0.00 0.00 73,918.83

MRA 0.00 46.00

Mayo 403b Plan Employees Contribution 0.00 1,740.55
Mayo Premier 0.00 4,807.00

Social Security Employee Withheld 0.00 5,179.83
FIT Withheld 0.00 3,575.80
Medicare Employee Withheld 0.00 1,211.41
SIT Withheld (MN) 0.00 1,567.27

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MN Married 8 0.00

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State Tax Levy Order : 0.00 2,946.18

State Tax Levy Order 0.00 765.68
Miscellaneous Deduction Nonrecurring -765.68 -765.68

5927317731 MERCHANTS | 091900193. | | XXXXXX404 765.68
BANK NA

Mayo 403b Plan Employers Contribution

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pyee Namie | Person Num Hire Date _ __ | Tax Reporting Unit Na
Benjami nR Austin 274494 12-Mar-2018 MAYO FOUNDATION FOR
MEDICAL EDUCATION AND
RESEARCH
zi 2a i i Pig fe
2918 Bandel Ct NW 200 FIRST STREET SW
ROCHESTER, MN 55901 US Rochester, MN 55905 US
(888) 266-0440

Biweekly 17-Dec-2024 24-Dec-2024 91,351.94

Gross Earnings 3,528.57 91,927.27
Imputed Earnings 15.07 386.86
Pretax Deductions 281.27 6,874.82
Employee Tax Deductions 450.81 11,985.12
Involuntary Deductions 765.67 4,477.53
Voluntary Deductions 0.00 ~765.68
Net Payment 2,015.75 68,968.62

Excess Life Imputed 15.07

Miscellaneous Pay Non 0.00 1,000.00
Benefits

Paid Time Off 0.00 0.00 13,108.08

Regular Pay 80.00 43.92 1 3,513.50 77,432.33

Earnings Breakdown: This section details the Earnings by rate for the above summary.

Reguiar Pay a a S 3 oe 4 ee aL 3513.50

MRA _ 2.00 48.00
Mayo 403b Plan Employees Contribution 70.27 1,810.82
Mayo Premier 209.00 5,016.00

Social Security Employee Withheld

FIT Withheld 136.02 3,711.82
Medicare Employee Withheld 48.11 1,259.52
SIT Withheld (MN) 60.99 1,628.26

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FEDERAL Married 8 0.00
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State Tax Levy Order 0.00 2,946.18
State Tax Levy Order 0.00 765.68
State Tax Levy Order 765.67 765.67
Miscellaneous Deduction Nonrecurring 0.00 -765.68

6009197131 MERCHANTS 091900193 XXXXXX404 USD 2,015.75
BANK NA

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Mayo 403b Plan Employers Contribution

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MEDICAL EDUCATION AND
RESEARCH

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| 274494 12-Mar-2018

2918 Bandel Ct NW 200 FIRST STREET SW
ROCHESTER, MN 55901 US Rochester, MN 55905 US

(888) 266-0440

4-Dec-2024 17-Dec-2024 31 -Dec-2024 91,351.94

Gross Earnings 0.00 91,927.27
Imputed Earnings 0.00 386.86
Pretax Deductions 0.00 6,874.82
Employee Tax Deductions 0.00 11,985.12
Involuntary Deductions 0.00 4,477.53
Voluntary Deductions -765.67 ~1,531.35
Net Payment 765.67 69,734.29

Excess Life Imputed 0.00 386.86

Miscellaneous Pay Non 0.00 1,000.00
Benefits

Paid Time Off 0.00 0.00 13,108.08

Regular Pay 0.00 0.00 77,432.33

MRA 0.00 48.00
Mayo 403b Plan Employees Contribution 0.00 1,810.82
Mayo Premier 0.00 5,016.00

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Social Security Employee Withheld 0.00 5,385.52
FIT Withheld 0.00 3,711.82
Medicare Employee Withheld 0.00 1,259.52
SIT Withheld (MN) 0.00 1,628.26

FEDERAL Married 8 0.00
MN Married 8 0.00

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State Tax Levy Order 0.00 2,946.18
State Tax Levy Order 0.00 765.68
State Tax Levy Order 0.00 765.67
Miscellaneous Deduction Nonrecurrin

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6075422951 MERCHANTS

BANK NA

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Mayo 403b Plan Employers Contribution

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ng Unit Name
AY’ FOUNDATION FOR
MEDICAL EDUCATION AND
RESEARCH

AUG a

one Number

a

2918 Bandel Ct NW 200 FIRST r STREET SW
ROCHESTER, MN 55901 US Rochester, MN 55905 US
(888) 266-0440

31-Dec-2024 77-Jan-2025 91,351.94

Gross Earnings 3,528.48 3,528.48
Imputed Earnings 14.98 14.98
Pretax Deductions 300.27 300.27
Employee Tax Deductions 438.77 438.77
Net Payment 2,774.46 2,774.46

~ Excess Life Imputed ) 14.98 14.98
Paid Time Off 24.00 43.92 i 1,054.05 1,054.05
Regular Pay 56.00 43.92 1 2,459.45 2,459.45

Earnings Breakdown: This section details the Earnings by rate for the above summary.

Paid Time Off 24.00 43.92 1 1,054.05
Regular Pay 56.00 43.92 1 2,459.45

Delta Dental - Standard 21.00 ~ 21.00
Mayo 403b Plan Employees Contribution 70.27 70.27
Mayo Premier 209.00 209.00

Social Security Employee Withheld

FIT Withheld 129.55 129.55
Medicare Employee Withheld 47.83 47.83
SIT Withheld (MN) 56.88 56.88

FEDERAL Married «8 00
MN Married 8 0.00

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ny hount
6157123486 MERCHANTS 091900193 XXXXXX404 2,774.46
BANK NA

Mayo 403b Plan Employers Contribution

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MAYO FOUNDATION FOR
MEDICAL EDUCATION AND
RESEARCH

3018 Bandel CNW
ROCHESTER, MN 55901 US

a ah
200 FIRST STREET SW
Rochester, MN 55905 US
(888) 266-0440

~ 91,354 "04

Gross Eamings 057,05
Imputed Earnings 15.07 30.05
Pretax Deductions 300.27 600.54
Employee Tax Deductions 438.77 877.54
Involuntary Deductions 768.68 768.68
Net Payment 2,005.78 4,780.24

Excess Life Imputed _ 15.07 | 30.05
Paid Time Off 16.00 43.92 1 702.70 1,756.75
Regular Pay 64.00 43.92 1 2,810.80 5,270.25

Earnings Breakdown: This section details the Earnings by rate for the above summary.

Paid Time Off 16.00 43.92 a
Regular Pay 64.00 43.92 4 2,810.80

Delta Dental - Standard 21.00 42.00
Mayo 403b Plan Employees Contribution 70.27 140.54
Mayo Premier 209.00 418.00

Social Security Employee Withheld 204.51 409.02
FIT Withheld 129.55 259.10
Medicare Employee Withheld 47.83 95.66
SIT Withheld (MN) 56.88 113.76

FEDERAL “| Married

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MERCHANTS 091900193 2,005.78
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Mayo 403b Plan Employers Contribution 35.14 70.28

